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                               UNITED STATES DISTRICT COURT
                                MIDDLE DISTRICT OF FLORIDA
                                    FORT MYERS DIVISION

 GLENN R. BAKER,

                  Plaintiff,

 v.                                                       Case No: 2:17-cv-572-FtM-99MRM

 BRUNSWICK CORPORATION,
 MARINEMAX EAST, INC. and
 BOSTON WHALER, INC.,

                Defendants.
                                               /

                                     OPINION AND ORDER1

        This matter comes before the Court on Defendants’ Motion to Dismiss (Doc. 39)

 filed on March 27, 2018. Plaintiff filed a Response in Opposition (Doc. 40) on April 10,

 2018. For the reasons set forth below, the Motion is granted in part and denied in part.

                                         BACKGROUND

        Plaintiff Glenn R. Baker sues Defendants for their failure to honor their warranties

 and repair his defective boat. Because repairs were unsuccessful, Plaintiff attempted to

 rescind the purchase, which Defendants refused. The Court previously dismissed the

 Amended Complaint (Doc. 18) as a shotgun pleading because Plaintiff lumped

 Defendants together under each count. (Doc. 34). In that Opinion and Order, the Court




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 deferred ruling on Defendants’ argument that Plaintiff’s warranty claims failed for lack of

 privity, and encouraged the parties to review a recent published opinion from the Eleventh

 Circuit on that issue. Godelia v. Doe 1, 881 F.3d 1309 (11th Cir. 2018). Plaintiff filed a

 Second Amended Complaint (Doc. 35) on February 26, 2018. Defendants again move

 to dismiss due to the continued insufficiency of the pleading, and lack of privity.

                                        THE FACTS

        When reviewing a Motion to Dismiss, the Court accepts Plaintiff’s factual

 allegations as true and takes them in a light most favorable to Plaintiff. Erickson v.

 Pardus, 551 U.S. 89, 94 (2007) (per curiam).          Thus, Plaintiff’s Second Amended

 Complaint (Doc. 35) alleges: Defendant Boston Whaler designs, manufactures, and

 markets the 35-foot Boston Whaler Outrage, which is the vessel Baker purchased. (Id.,

 ¶¶ 6-7). Defendant Brunswick, through its Mercury Marine Division, manufactured part

 of the vessel, including its engine. (Id., ¶ 10). Defendant MarineMax, acting as a dealer

 and agent of Boston Whaler and Brunswick, sold the vessel to Plaintiff. (Id., ¶ 12).

        On or about May 8, 2015, Baker purchased his 35-foot Boston Whaler Outrage

 from MarineMax, a dealer, representative, and agent of Brunswick and Boston Whaler for

 approximately $500,000. (Doc. 35, ¶ 18). Through its marketing materials, Boston

 Whaler marketed and represented that the joystick piloting system in Plaintiff’s vessel

 provided “effortless docking and ultimate confidence when cruising even the roughest

 ocean waves.”     (Id., ¶ 2).   Baker relied on these and other representations when

 purchasing the vessel. (Id., ¶ 3). At the time of sale, MarineMax provided Baker with an

 executed Purchase Agreement, on behalf of itself, Boston Whaler, and Brunswick. (Id.,

 ¶ 19; Doc. 35-1).         The back of the Purchase Agreement reads, in part:




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 “MANUFACTURER’S WARRANTY. The boat, motor and accessories sold pursuant to

 this agreement are only subject to applicable manufacturer’s warranties, if any, except,

 as otherwise expressly provided in this agreement.” (Doc. 35-1, p. 3). With the Purchase

 Agreement, MarineMax provided Baker with a copy of an express limited warranty by

 Boston Whaler (Doc. 35-3) and a Product Protection Plan and Benefits from “Mercury

 Marine Division of Brunswick Corporation.” (Doc. 35-2).

        Eight days before the delivery of the vessel to Plaintiff, a Notice of Recall of the

 boat’s steering system had been issued; yet, Defendants failed to disclose this to Plaintiff

 prior to the purchase. (Doc. 35, ¶ 23). Plaintiff has attached copies of the recall notice

 to his Second Amended Complaint.2 (Docs. 35-4, 35-5). Initially, the recall notice stated

 there was a manufacturing defect in the engine’s steering cylinder sensor, which could

 lead to a loss of steering. (Doc. 35-4). In a later letter from Brunswick to Plaintiff,

 Brunswick stated that the problem was with the power steering pump intermittently

 shutting down.     (Doc. 35-5).     Defendants had notice that the steering system was

 defective and of the recall notice at the time of the purchase but did not notify Plaintiff

 until three weeks after delivery of the vessel. (Doc. 35, ¶ 26).

        On or about December 2015, the steering system failed while Plaintiff was using

 the boat, and has continuously failed despite repeated attempts to repair the defective

 system with participation by all three Defendants. (Doc. 35, ¶ 27). MarineMax, as an




 2
   The “Notice for Recall Under the U.S. Federal Boat Safety Act” does not appear to be dated,
 but the postage stamp indicates that it was mailed to Plaintiff on May 29, 2015. The letter itself
 includes a small date in the lower left-hand corner of 04/30/15. (Doc. 35-4, p. 3).




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 agent of Brunswick and Boston Whaler, undertook to repair the vessel under warranty on

 several occasions from December 2015 until April 2017.3 (Id., ¶ 28).

        On June 14, 2017, Baker was told by John Foster, a representative of Boston

 Whaler and/or Brunswick, that: (1) it was a high priority to make Baker’s boat work

 properly; (3) they had finally determined the root cause of the problems; (3) the re-

 designed parts for the ultimate fix were being sent out; and (4) Baker’s boat would be

 given priority. (Doc. 35, ¶ 30). Mr. Foster’s statements were confirmed in a phone call

 from another representative of Boston Whaler and/or Brunswick in Wisconsin. (Id., ¶ 31).

 Notwithstanding these representations, none of the statements turned out to be true at

 the time they were made. (Id., ¶ 32). Following this meeting, Baker took his boat back

 to MarineMax and was told by MarineMax representatives that new parts had been

 received and the defective parts would be replaced with working parts. (Id., ¶ 33). But

 the vessel failed again in open waters after this replacement, with Baker’s family on board.

 (Id., ¶ 34).

        Because of the continuing unresolved issues with the steering system and the

 numerous breakdowns in transit through the Gulf of Mexico and international waters,

 Baker returned the vessel to MarineMax in August 2017 and asked for a rescission of the

 sale and related damages. (Doc. 35, ¶ 35). Defendants refused. The boat remains unfit

 for Plaintiff’s use. (Id., ¶ 40).




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  Specifically, Baker had the vessel serviced by one or more of the Defendants at least five times
 between December 31, 2015 and June 14, 2017 including: January 4, 2016; May 27, 2016;
 October 27, 2016; October 31, 2016; February 27, 2017 (service not completed until April 3,
 2017); and April 21, 2017. (Doc. 35, ¶ 29).




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                                   STANDARD OF REVIEW

        Under Rule 8(a)(2) of the Federal Rules of Civil Procedure, a complaint must

 contain a “short and plain statement of the claim showing that the pleader is entitled to

 relief.” Fed. R. Civ. P. 8(a)(2). This obligation “requires more than labels and conclusions,

 and a formulaic recitation of the elements of a cause of action will not do.” Bell Atl. Corp.

 v. Twombly, 550 U.S. 544, 555 (2007) (citation omitted). In addition, to survive a motion

 to dismiss under Rule 12(b)(6) of the Federal Rules of Civil Procedure, the factual

 allegations must be “plausible” and “must be enough to raise a right to relief above the

 speculative level.” Id. at 555; see also Edwards v. Prime Inc., 602 F.3d 1276, 1291 (11th

 Cir. 2010). Like its counterpart above, Rule 12(b)(6) requires more than “unadorned, the-

 defendant-unlawfully-harmed-me” accusations. Ashcroft v. Iqbal, 556 U.S. 662, 678

 (2009) (citations omitted).

        In deciding a Rule 12(b)(6) motion to dismiss, the Court must accept all factual

 allegations in a complaint as true and take them in the light most favorable to plaintiff.

 See Erickson v. Pardus, 551 U.S. 89, 94 (2007) (per curiam). But, “[l]egal conclusions

 without adequate factual support are entitled to no assumption of truth.” Mamani v.

 Berzain, 654 F.3d 1148, 1153 (11th Cir. 2011) (citations omitted). “Threadbare recitals

 of the elements of a cause of action, supported by mere conclusory statements, do not

 suffice.” Iqbal, 556 U.S. at 678. “Factual allegations that are merely consistent with a

 defendant's liability [also] fall short of being facially plausible.” Chaparro v. Carnival Corp.,

 693 F.3d 1333, 1337 (11th Cir. 2012) (internal citations omitted). The Court engages in

 a two-step approach: “When there are well-pleaded factual allegations, a court should




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 assume their veracity and then determine whether they plausibly give rise to an

 entitlement to relief.” Iqbal, 556 U.S. at 679.

                                        DISCUSSION

        Plaintiff is proceeding on a thirteen-count Second Amended Complaint (Doc. 35),

 raising claims against all Defendants under the Magnuson-Moss Warranty Act, 15 U.S.C.

 §§ 2310, et seq., for breach of express and implied warranty, and under the Florida

 Deceptive and Unfair Trade Practices Act (FDUTPA). Plaintiff also asserts a state law

 claim for false marketing/promotion against Boston Whaler only.

        A. Magnuson Moss, Express Warranty Claims v. Brunswick and Boston
           Whaler (Counts 2, 3, 5, 6)

        Defendants argue that the express warranty claims against Brunswick and Boston

 Whaler fail because there is no privity of contract between themselves and Plaintiff. The

 Magnuson Moss Warranty Act (MMWA) provides a separate “statutory cause of action to

 consumers ‘damaged by the failure of a supplier, warrantor, or service contractor to

 comply with [any obligation imposed by the Act] or under a written warranty, implied

 warranty or service contract.’” Cunningham v. Fleetwood Homes of Ga., Inc., 253 F.3d

 611, 617-18 (11th Cir. 2001) (quoting 15 U.S.C. § 2310(d)(1)). Under any MMWA claim,

 whether privity is required, and the meaning and creation of any warranty, hinges on

 applicable state law. Gill v. Blue Bird Body Co., 147 F. App’x 807, 810 (11th Cir. 2005).

        In Godelia v. Doe 1, the Eleventh Circuit discussed whether a claim for breach of

 express warranty requires privity of contract between the parties under Florida law,

 stating: “Our review of Florida law reveals no clear rule about whether privity is required

 in every Florida express warranty claim.” 881 F.3d at 1321 (comparing T.W.M. v. Am.

 Med. Sys., 886 F. Supp. 842, 844 (N.D. Fla. 1995) with Smith v. Wm. Wrigley Jr. Co., 663




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 F. Supp. 2d 1336, 1342-43 (S.D. Fla. 2009)). There, the court noted that even if it

 assumed privity is required, plaintiff had sufficiently alleged it, accepting the allegations

 as true. Id. at 1321-22.

        The Court agrees that it is not clear that privity is always required under Florida

 law to state a claim for breach of express warranty. The general rule requires privity in

 order to state an express warranty claim. See Intergraph Corp. v. Stearman, 555 So. 2d

 1282, 1283 (Fla. 2d DCA 1990) (“Privity is required in order to recover damages from the

 seller of a product for breach of express or implied warranties.”); see also Spolski Gen.

 Contractor, Inc. v. Jett-Aire Corp. Aviation Mgmt. of Cent. Fla., Inc., 637 So. 2d 968, 970

 (Fla. 5th DCA 1994) (manufacturer of floor paint could not be held liable to general

 contractor for breach of express warranties, where there was no sale from manufacturer

 to contractor, no privity between them, no contract between them, no reliance by

 contractor on any warrant, and no warranty was given to contractor). Other cases have

 held, however, that some factual circumstances satisfy the privity requirement even

 absent a purchase directly from the manufacturer.         New Nautical Coatings, Inc. v.

 Scoggin, 731 So. 2d 145, 147 (Fla. 4th DCA 1999) (finding privity when the paint

 manufacturer's representative was heavily involved in the transaction where the third-

 party paint shop provided the services to the plaintiff); see also ISK Biotech Corp. v.

 Douberly, 640 So. 2d 85 (Fla. 1st DCA 1994) (finding privity where manufacturer's

 representative informed the third-party fungicide seller that the seller could assure the

 plaintiff that the subject fungicide would not destroy the plaintiff's crop); Cedars of

 Lebanon Hosp. Corp. v. European X-Ray Distribs. of Am., Inc., 444 So.2d 1068, 1072 n.

 4 (privity existed where manufacturer's representative made express warranty through




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 the direct contacts with the ultimate purchaser/consumer who bought the product from

 the third party distributor).

          At the Motion to Dismiss stage, the Court cannot determine that privity will fail in

 this case. Plaintiff alleges that MarineMax acted as an agent for Boston Whaler and

 Brunswick when it undertook to repair the vessel under the warranties and pursuant to

 the recall. (Doc. 35, ¶¶ 12, 59). Plaintiff also alleges that MarineMax supplied a Boston

 Whaler Limited Warranty to Plaintiff by at the time of sale.4 (Doc. 35-3). MarineMax is

 an authorized dealer of products for Boston Whaler and/or Brunswick. (Doc. 35, ¶ 12).

 Thus, the Motion to Dismiss will be denied on Counts 2, 3, 5, and 6.5

          B. Magnuson Moss, Express and Implied Warranty Claims v. MarineMax
             (Counts 1, 4, 7)

          Admitting that privity exists between Plaintiff and MarineMax, Defendants argue

     that both the express and implied warranty claims against MarineMax are still due to be

     dismissed because there is no written MarineMax warranty and MarineMax disclaimed

     all warranties in the Purchase Agreement, which are clear and conspicuous as required

     by Florida law. See Doc. 35-1, pp. 2-3. Plaintiff responds that the Florida’s Uniform




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   Defendants also argue that even if Plaintiff has alleged privity with Boston Whaler, Plaintiff’s
 claims nonetheless fail because the Boston Whaler Limited Warranty explicitly excludes coverage
 for the steering mechanism. See Doc. 35-3, EXCLUSION 2. Defendants have not convinced
 the Court that this exclusion applies and dismissal at this stage is improper. Plaintiff has alleged
 that he was provided with the Boston Whaler Limited Warranty at the time of sale and it was
 breached, causing him damages. This is sufficient.

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  Of course whether Plaintiff can meet his burden to establish that an agency relationship actually
 existed between MarineMax and Brunswick and/or Boston Whaler is a question for another day.




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     Commercial Code6 specifies three circumstances under which an express warranty may

     arise, even absent a written warranty:

          (a) Any affirmation of fact or promise made by the seller to the buyer which
              relates to the goods and becomes part of the basis of the bargain
              creates an express warranty that the goods shall conform to the
              affirmation or promise.

          (b) Any description of the goods which is made part of the basis of the
              bargain creates an express warranty that the goods shall conform to the
              description.

          (c) Any sample or model which is made part of the basis of the bargain
              creates an express warranty that the whole of the goods shall conform
              to the sample or model.

 Fla. Stat. § 672.313(1).

          While the Court agrees this is a correct statement of the law, in this case,

 MarineMax disclaimed all warranties, express and implied, and Plaintiff has cited the

 Court to no authority that such a disclaimer would not apply to exclude the three

 circumstances above. Florida law authorizes sellers to exclude warranties, both express

 and implied, in the sale of goods. See Fla. Stat. § 672.316.          Here, the Purchase

 Agreement specifically excluded all express warranties by MarineMax, as well as implied

 warranties.      (Doc. 35-1).   Regarding implied warranties, in his Second Amended

 Complaint, Plaintiff alleges breach of implied warranty of merchantability and fitness for

 a particular purpose. (Doc. 35, ¶¶ 119, 127, 135). To properly disclaim an implied

 warranty of merchantability, “the language must mention merchantability and in case of a

 writing must be conspicuous; and, to exclude or modify any implied warranty of fitness,

 the exclusion must be by a writing and conspicuous.” Fla. Stat. § 672.316(2).



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  Because the Sales Contract involves the sale of a good, Article 2 of the Florida Uniform
 Commercial Code applies. See Fla. Stat . § 672.102.




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       A term or clause is conspicuous when it is so written that a reasonable
       person against whom it is to operate ought to have noticed it. Whether a
       term or clause is conspicuous or not is for decision by the court.
       Conspicuous terms include the following:

           (a) A heading in capitals equal to or greater in size than the surrounding
               text, or in contrasting type, font, or color to the surrounding text of the
               same or lesser size; and
           (b) Language in the body of a record or display in larger type than the
               surrounding text or set off from surrounding text of the same size by
               symbols or other marks that call attention to the language.

 Fla. Stat. § 671.201(10).

       Here, in bold-face capital letters immediately above Plaintiff’s signature, the front

 page of the Purchase Agreement includes a reference to the additional terms and

 conditions of the sale on the reverse side of the document: “SEE THE REVERSE SIDE

 OF    THIS    AGREEMENT          FOR      IMPORTANT         INFORMATION          REGARDING

 LIMITATIONS OF WARRANTIES.” (Doc. 35-1, p. 2) (emphasis in original). Again, in

 bold-face capital letters on the reverse side of the Purchase Agreement, MarineMax

 included a separate paragraph titled “DISCLAIMER OF WARRANTIES” (the “Warranty

 Disclaimer”). (Id. at 3, ¶ 2) (emphasis in original). The Warranty Disclaimer states that

 MarineMax’s sale of the subject boat was “AS IS.” (Id.) In bold-face capital letters, the

 Warranty Disclaimer disclaimed any and all warranties, including the implied warranty of

 merchantability, on behalf of seller MarineMax:

       THE BOAT, MOTOR AND ACCESSORIES BEING PURCHASED
       PURSUANT TO THIS AGREEMENT ARE SOLD BY SELLER “AS IS”
       AND SELLER MAKES NO WARRANTIES ON ITS OWN BEHALF,
       EXPRESS OR IMPLIED, INCLUDING THE IMPLIED WARRANTIES OF
       MERCHANTABILITY AND FITNESS FOR A PARTICULAR PURPOSE,
       unless Seller gives Buyer a written warranty on its own behalf or Seller
       enters into a service contract in connection with this sale or within 90
       days of sale. If Seller gives Buyer a written warranty on its own behalf
       or Seller enters into a service contract in connection with this sale or
       within 90 days of sale, than any implied warranties shall be limited in




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        duration to the duration of Seller’s written warranty or service
        contract.

 (Id.) (emphasis in original). The Court finds that the “Disclaimer of Warranties” section in

 the Purchase Agreement is conspicuous, and that MarineMax effectively disclaimed any

 express or implied warranties in the agreement. Therefore, Counts 1, 4, and 7 are

 dismissed with prejudice.7

        C. Implied Warranty Claims v. Brunswick and Boston Whaler (Counts 8, 9)

        Defendants argue that like his express warranty claims, Plaintiff’s factual

 allegations fail to state a claim for breach of implied warranty due to the absence of privity.

 The Court notes it is not clear that privity is always required under Florida law to state a

 claim for breach of implied warranty. Generally, “an implied warranty cannot exist where

 there is no privity of contract.” Yvon v. Baja Marine Corp., 495 F. Supp. 2d 1179, 1183

 (N.D. Fla. 2007) (citing Mesa v. BMW of N. Am., LLC, 904 So. 2d 450, 458 (Fla. 3d DCA

 2005)). If a buyer purchases a vehicle from a dealer, “the existence of a manufacturer's

 warranty which runs to the buyer does not in and of itself establish privity” between the

 buyer and the manufacturer of the vehicle. David v. American Suzuki Motor Corp., 2009

 WL 1838323, *8 (S.D. Fla. 2009). Therefore, “[p]rivity of contract does not exist where

 plaintiff has purchased a defective product from a dealer and not directly from the

 manufacturer/warrantor.” Henson v. Allison Transmission, No. 07-80382-CIV, 2008 WL

 239153, *3 (S.D. Fla. 2008) (citing Bailey v. Monaco Coach Corp., 168 Fed. Appx. 893,

 894 n.1 (11th Cir. 2006)); see also Tindle Enterprises, Inc. v. Plastic Trends, Inc., No.

 3:09cv86/RV/EMT, 2009 WL 1011884, *2-3 (N.D. Fla. 2009). However, if the plaintiff



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   Plaintiff’s argument that MarineMax should be estopped from disclaiming all warranties because
 it undertook to do warranty work on behalf of the other Defendants is without merit.




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 shows the existence of an agency between a dealer and a manufacturer, the agency

 satisfies the privity requirement for an implied warranty. Insurance Co. of N. Am. v.

 American Marine Holdings, Inc., No 5:04-cv-OC-10GRJ, 2005 WL 3158049, *5 (M.D. Fla.

 2005); McGraw v. Fleetwood Enter. Inc., No. 6:07-cv-234-Orl-28DAB, 2007 WL 2225976,

 *3 & n.5 (M.D. Fla. 2007).

       As the Court concluded above regarding the express warranty claims, the Court

 cannot determine that privity fails in this case at the Motion to Dismiss stage as to

 Defendants Brunswick and Boston Whaler; therefore, the Motion to Dismiss is denied on

 Counts 8 and 9.

       D. FDUTPA (Counts 10-12)

       Defendants argue that Plaintiff failed to state a FDUTPA violation because such

 violations require heightened pleading under Federal Rule of Civil Procedure 9(b).

 Plaintiff responds that heightened pleading does not apply.

       The Florida Legislature enacted FDUTPA “[t]o protect the consuming public and

 legitimate business enterprises from those who engage in unfair methods of competition,

 or unconscionable, deceptive, or unfair acts or practices in the conduct of any trade or

 commerce.” Fla. Stat. § 501.202(2). The Act declares unlawful “[u]nfair methods of

 competition, unconscionable acts or practices, and unfair or deceptive acts or practices

 in the conduct of any trade or commerce.” Fla. Stat. § 501.204(1). A claim for damages

 under FDUTPA has three elements: “(1) a deceptive act or unfair practice; (2) causation;

 and (3) actual damages.” City First Mortg. Corp. v. Barton, 988 So. 2d 82 (Fla. 4th DCA

 2008) (citation omitted); see also KC Leisure, Inc. v. Haber, 972 So. 2d 1069, 1073-74

 (Fla. 5th DCA 2008).




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       There has been inconsistency among Florida's federal courts regarding whether

 Rule 9(b)'s pleading standard applies to all FDUTPA claims or only those alleging

 fraudulent activity. See, e.g., Nationwide Mut.Co. v. Ft. Myers Total Rehab Ctr., Inc., 657

 F. Supp. 2d 1279, 1290 (M.D. Fla. 2009) (“The Court is not convinced that the specificity

 requirements of [Rule 9(b) ] appl[y] to [all] FDUTPA [claims], although it recognizes this

 view is in the minority in this District.”). However, it appears that a trend has emerged:

 Absent an allegation of fraudulent conduct, a FDUTPA claim need not meet Rule 9(b)'s

 heightened-pleading requirement. See, e.g., In re Brican Am. LLC Equip. Lease Litig.,

 No. 10–MD–02183–PAS, 2014 WL 250246, at *10 (S.D .Fla. Jan. 22, 2014); Foster v.

 Chattem, Inc., No. 6:14–CV–346–ORL–37, 2014 WL 3687129, at *1 (M.D. Fla. July 24,

 2014); Hill v. Hoover Co., 899 F.Supp.2d 1259, 1263 (N.D. Fla. 2012). As one court

 explained, “Rule 9(b)'s requirements are implicated by allegations of fraud, but because

 FDUTPA was enacted to provide remedies for conduct outside the reach of traditional

 common law torts like fraud, the plaintiff need not prove the elements of fraud to sustain

 an action under the statute.” Toback v. GNC Holdings, Inc., No. 13–80526–CIV, 2013

 WL 5206103, at *2 (S.D. Fla. Sept. 13, 2013) (internal citations omitted). But the Court

 need not provide an explicit holding on this issue today. A review of Counts 10-12 reveals

 that they meet every pleading standard, even the stringent one set out by Rule 9(b).

       Plaintiff avers that Defendants, on their own or as a representative of the other

 Defendants, “made material misrepresentations and omissions in an effort to induce

 Baker to enter into a purchase agreement to purchase the 35’ Boston Whaler Outrage.”

 (Doc. 35, ¶¶ 141, 148, 156).      Plaintiff further alleges that Defendants engaged in

 deceptive and unfair trade practices when they failed to “disclose the defects with the




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 steering system and the prior recall notice” of which they knew. (Id., ¶¶ 143, 151, 159).

 Plaintiff states that the representations caused him damage, including the loss of the

 purchase price, and use of the vessel.     (Id., ¶¶ 144, 152, 160). Regarding Brunswick

 and Boston Whaler, Plaintiff alleges that Foster, as a representative of the companies,

 made affirmative, untrue misrepresentations to Plaintiff upon which he relied by taking his

 boat back for repairs. (Id., ¶¶ 30-31, 149, 157). These allegations, when taken as true,

 are enough to satisfy Rule 9(b) and alert Defendants to the exact misconduct with which

 they are charged. See Ziemba v. Cascade Int'l, Inc., 256 F.3d 1194, 1202 (11th Cir.

 2001).

          E. False Marketing/Promotion in Violation of Fla. Stat. §§ 817.40(5) &
             817.41(1) v. Boston Whaler (Count 13)

          Defendants argue that Count 13 fails because it is not pled with the requisite

 specificity required by Rule 9(b).         Defendants further argue that the alleged

 misrepresentation identified by Plaintiff is not an actionable statement, but amounts to

 nothing more than puffery or is otherwise not a false statement.

          In Count 13, Plaintiff alleges:

          In connection with promoting and convincing customers, including Baker, to
          purchase and use its 2015 Outrage, Boston Whaler made marketing
          statements in print and directly to consumers, including the statement that
          the Outrage and its steering system were ‘designed to provide effortless
          docking and ultimate confidence when cruising even the roughest ocean
          waves.’

 (Doc. 35, ¶ 162). Plaintiff alleges these marketing statements attest to the quality and

 reliability of the Mercury joystick steering system in particular and these statements are

 false and misleading and Baker relied on them when purchasing the vessel. (Id., ¶¶ 163-

 68). He also alleges he was damaged.




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         To state a claim for damages under Florida Statutes §§ 817.40(5) and 817.41(1),

 a plaintiff must establish “the party relied on some identifiable alleged misleading

 advertising plus, where appropriate, all of the other elements of the common law tort of

 fraud in the inducement,” including: (1) the representor made material misrepresentation,

 (2) the representor knew or should have known the falsity of the statement, (3) the

 representor intended inducement, and (4) the plaintiff justifiably relied and suffered

 damages. See Third Party Verification, Inc. v. Signaturelink, Inc., 492 F. Supp. 2d 1314,

 1322 (M.D. Fla. 2007). A seller’s exaggeration of statements of opinion cannot constitute

 a misrepresentation of material fact, otherwise known as puffery. Wasser v. Sassoni, 652

 So. 2d 411 (Fla. 3d DCA 1995).

         The Court disagrees with Defendants’ argument that the claim fails because it does

 not satisfy Rule 9(b), because even if heightened pleading is required, Plaintiff has

 satisfied it.   However, the Court agrees that the statement is mere puffery, and not a

 material misrepresentation, as the statement is simply an opinion that the 35-foot Outrage

 provides the “ultimate confidence.” See MDVIP, Inc. v. Beber, 222 So. 3d 555, 561 (Fla.

 4th DCA 2017) (“A promise to deliver an ‘exceptional’ product or service is a matter of

 opinion rather than fact, and constitutes non-actionable puffery.”).

         F. Shotgun Pleading

         Defendants’ argument that Plaintiff’s Second Amended Complaint should be

 dismissed because it continues to lump defendants together fails. Plaintiff has separated

 the counts against each Defendant, and if Plaintiff is unclear on which Defendant is

 responsible for which misrepresentations, this can be established through discovery. The




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 Second Amended Complaint is sufficient to put Defendants on notice of the claims against

 them and it would not be impossible for Defendants to frame a response.

       Accordingly, it is now

       ORDERED:

       Defendants’ Motion to Dismiss (Doc. 39) is GRANTED IN PART AND DENIED IN

 PART. Counts 1, 4, 7, and 13 are dismissed with prejudice; otherwise, the Motion is

 denied on all other counts. Defendants shall file an answer within fourteen (14) days of

 this Opinion and Order.

       DONE and ORDERED in Fort Myers, Florida this 25th day of April, 2018.




 Copies: All Parties of Record




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